     Case 2:09-cr-00031-MEF-TFM Document 109 Filed 11/17/09 Page 1 of 5




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )   CASE NO. 2:09-cr-0031-MEF-01
                                              )
SYLVESTER VAUGHN                              )   (WO¯Do Not Publish)
                                              )

                  MEMORANDUM OPINION AND ORDER

       This case is before the Court on Defendant Sylvester Vaughn’s (“Vaughn”)

Motion to Sever, filed on September 16, 2009. (Doc. # 93.) In the motion, Vaughn asks

this Court to sever his case from the case of the co-defendant, Kelvin Summers

(“Summers”). The United States opposes severance. For the following reasons, this

Court will grant the motion.

       On February 18, 2009, the grand jury returned an indictment that charges both

Vaughn and Summers with conspiracy to distribute crack cocaine, in violation of 21

U.S.C. § 846, and distribution of crack cocaine, in violation of 21 U.S.C. § 841(a)(1) and

18 U.S.C. § 2. As is the preference under federal law, this Court tried Vaughn and

Summers together at a joint trial that began on August 24, 2009. See United States v.

Browne, 505 F.3d 1229, 1268 (11th Cir. 2007) (citing Zafiro v. United States, 506 U.S.

534, 537S38 (1993)) (explaining that the general rule in conspiracy cases like this one is

that “defendants who are charged together are usually tried together”).

       Before the close of its case in chief, however, the United States disclosed that it
      Case 2:09-cr-00031-MEF-TFM Document 109 Filed 11/17/09 Page 2 of 5




had failed to turn over evidence that might be exculpatory to Summers. The evidence in

question is an audio recording of several telephone calls between Summers and a

confidential informant who was working undercover with law-enforcement officers to

buy cocaine from Vaughn and Summers. Summers claims that the content of these calls

might show that the confidential informant entrapped Summers into giving him directions

to an apartment where he could buy cocaine. According to the United States’ theory of

the case, Vaughn was waiting at that apartment and sold cocaine to the confidential

informant when he arrived. In response to this disclosure, this Court declared a mistrial

on August 26, 2009 and set the case for retrial.

       In light of this new evidence, Summers has filed notice of his possible intent to

assert an entrapment defense upon retrial. Vaughn now moves for severance under Rule

14(a) of the Federal Rules of Criminal Procedure, which provides, in pertinent part, that

“[i]f the joinder of . . . defendants in an indictment, an information, or a consolidation for

trial appears to prejudice a defendant . . . a court may . . . sever the defendants’ trials, or

provide any other relief that justice requires.” Vaughn argues that Summers’s entrapment

defense is antagonistic to his own defense¯although he does not specify what his own

defense will be¯and that this antagonism undermines his constitutional right to a fair

trial to the point where severance is appropriate.

       Given the evidence in this case as it now stands, which the Court is in a unique

position to assess having already heard most of the facts in the first trial, this Court finds


                                                2
     Case 2:09-cr-00031-MEF-TFM Document 109 Filed 11/17/09 Page 3 of 5




that Vaughn is certainly not entitled to mandatory severance. “Mutually antagonistic

defenses are not prejudicial per se.” Zafiro, 506 U.S. at 538 (emphasis in original).

Rather, “to compel severance, the defenses of co-defendants must be more than merely

antagonistic, they must be antagonistic to the point of being mutually exclusive.” United

States v. Garcia, 405 F.3d 1260, 1272 (11th Cir. 2005) (internal quotation marks

omitted). In other words, a district court is not required to sever co-defendants unless the

defense of one defendant compels the jury to find that the other defendant is guilty.

       This is not the situation here. Even if the jury in this case were to accept

Summers’s entrapment defense, they would not be required by logic or law to find that

Vaughn is guilty of any crime. For example, a reasonable jury could accept Summers’s

defense as correct and nonetheless still find that there was no conspiracy because Vaughn

and Summers did not agree to sell cocaine. Likewise, a reasonable jury could find that

Vaughn was not the person at the apartment who sold the cocaine to the confidential

informant. Therefore, as the United States persuasively argues in its response to

Vaughn’s motion, less drastic measures than severance, including curative limiting

instructions, would be constitutionally sufficient. Zafiro, 506 U.S. at 539.

       Nonetheless, just because the Constitution does not require this Court to sever the

defendants does not mean that the Court should not sever the defendants under Rule 14.

As the Supreme Court emphasized in Zafiro, “Rule 14 . . . leaves the tailoring of the

relief to be granted, if any, to the district court’s sound discretion.” 506 U.S. at 539


                                              3
      Case 2:09-cr-00031-MEF-TFM Document 109 Filed 11/17/09 Page 4 of 5




(emphasis added). In deciding whether severance is the appropriate remedy in a

particular case, this Court should “balance the right of the defendant to a fair trial against

the public’s interest in efficient and economic administration of justice.” United States v.

Baker, 432 F.3d 1189, 1236 (11th Cir. 2005).

       This is one of the rare situations where the Court will sever the defendants without

being constitutionally required to do so. The risk of prejudice against Vaughn that arises

from Summers’s entrapment defense¯which tends to show Vaughn’s complicity¯is

significant. This risk of prejudice outweighs the countervailing considerations of judicial

economy, which are less weighty than usual because the Court has already declared a

mistrial in this case.

       In addition, beyond the spill-over effect of the entrapment defense itself, if the

arguments and evidence of the United States and Summers are similar in all other respects

to the arguments and evidence presented at the first trial, the main focus of the second

trial will be on Summers’s defense. This focus will likely divert the jury’s attention from

Vaughn’s defense. The entrapment defense will only exacerbate this problem, with most

of the arguments and evidence at trial likely directed at the nature of the conversations

between the confidential informant and Summers, and the question of whether those

conversations constitute entrapment.

       Because the Court is concerned that the jury’s attention will be diverted from

Vaughn’s defense and that the spill-over effect from Summers’s entrapment defense will


                                              4
     Case 2:09-cr-00031-MEF-TFM Document 109 Filed 11/17/09 Page 5 of 5




be more than de minimis, the Court finds that the risk of prejudice is significant enough to

warrant the preventative remedy of severance.

       Therefore, for the foregoing reasons, it is hereby

       ORDERED that the motion is GRANTED.

       DONE this the 17th day of November, 2009.




                                                  /s/ Mark E. Fuller
                                          CHIEF UNITED STATES DISTRICT JUDGE




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